    Case 5:13-cr-40070-JAR           Document 19-7           Filed 10/08/13   Page 1 of 13
EXHIBIT 402




                               'UNiTED STATES DISTRICT COURT                                      '"-'
                                                                                                          ,.rÌ ll
                                                                                                          .i!             :ìiï;r':'îã,Ì:.,
                                                                                  .).,''''.;.. _1                         -l
                                                                                                                           jjr¡::i il il
                                                                                                         -l ¡. t;I
                                                                                                                                           ,j
                                      DISTRICT OF KANSAS                               .l :
                                                                                           \r     -...
                                                                                                         ":. ii ..\tl',--;r
                                                                                                                \
                                                                                   i,..,,j; 1.=,.,. .i                      il::,ii i:.r":'"
                                                                                 .....-*."'"....^¡..
  IN THE MATTER OF TI{E SEARCH OF
  INFORMA'I']ON AS S O CIATED WITH
  "pi gbreeder 197 1 @y ahoo, c om"
  THAT IS STORED AT PREMIS.ES                          Case No                             7- /<6s
  CONTROLLED BY
  YAHOOIINC.                                           X'iled Under SeaI

  SUNNWALE, CA 94089



                         ATTFIDAVIT IN SUPPORT OF APPLICATION
                                 FOR SEAIìCH WARRANT

         I, James DKanatzat, being fust duly sworï state


                                            INTRODUCTION

         1.     I am a Special Agent of the Department of Homeland Security, Homeland
  Security Investigations, currently assigned to the Office of the Assistant Specíal Agent in

  Charge, I(ansas City, Missouri, and have been a federal officer for over 23 yearc. I have had the

  opporlunity to conduct, coordinate ancVor particþate in numerous investigatiorl relating to the

  sexual exploitation of children. I have also hacl thc opporbuurity to observe and l'eview numerous

  examples of child pornography in all foms of media including computer media, to discuss and

  review these materials with endocrinologists and pecliatricians, and have received training and

  instruction from experts in the field of investigation of child pornography. At all times

  thloughout this afficlavit I use the term "child pornography" meLely as shorthand to refer to

  visual clepictions of actual minors engaged in sexually explicit conduct. I use the tetms "visual.




                                                   1
   Case 5:13-cr-40070-JAR          Document 19-7         Filed 10/08/13      Page 2 of 13




depiction," "rninor," ancl "sexually explicit conduct" as those terms are clefined in 1B U.S.C. $

2256.

        2.     I am investigating activities involving the use of e:mai1 account
piglrrcederlgTL@ya,hoo.com, an account associated with the "imgsrc.ru" account
,,DIRTYOLDMÁN?1". As will be shown below, there is probable cause to belíeve that the

useï of pigbrce d,erL97l@yahoo.com has possessed, receivecl, and/or distribuled ohild

pornography, a[I in violation of Title 18, United States Code, Section 2252. I am submitting this

afficlavit in support of a searcb waüant authorizing a search of the pigbreederl9TT@yahoo.com

e-mail account at YAHOOI Inc. (hereinafter YAHOO), for the items specifiecl in Attachment B

("Items to Be Seizecl") hereto, which constifute contraband, instrumentalities, ancl evidence of

the foregoing violations.

        3.     Based upon your Affiant's review of the evidence to date, and as set forth below,

I bel|eve the email account pigbieederlgTl@yahoo.com to contain items, more frrlly described

in Ättachment B (incorporated herein by reference), which constitute evidence, fiuits, and

instrumentalities of violations of fedelal computer cdme and. child exploitation laws, namely,

Title 18, United States Code, Sections 2252(a)(2),2252($$)(B), and 2256. Since this affidavit

is beìng submitted fol the limited pulpose of securing a sealch wattant, I have not inclucled each

and every fact known to me concerning this investigation.

                        BACKGIIOI]ND OF THE INVESTIGATION

                                    The "imgsrc.ru" website

        4.     The r,veb site "www.imgsrc.ru" is a flee Internet hosting website located in

Rçssia, The web site is accsssible via the Internet, and allolvs individuals to create a user



                                                2
  Case 5:13-cr-40070-JAR              Document 19-7        Filed 10/08/13     Page 3 of 13




account, without cost, through which users can create photo albums ancl upload images to such

photo albums. Users can also post comrnents to theil photo albums, as well as other users' photo

albums. An individual with a user accourr1 on "imgsrc.ru" can malce his or her created photo

alb¡ms accessible to anyone lvith Intemet access (i.e. public), ot'the individual can 1oc1c down

his or her photo albuns with a passworcl so the albums are not accessible to the general pr-rblic

(i.e,, private).

         5.        Yo¿u affia¡t is familiar with the Russian web site "imgstc,ru" fi'om other

investigations. In the course of many forensic examination of computers seized uncler authority

of clúld pomography search warrants, youl affiant has observed numerous other child
pornography offenclers with internet history showing the offenders have accessed child

pornography images, or images with titles indicative of child pornography, via the "imgstc.tu"

website.

         6.        Your affiant has pelsonally investigatecl two individuals in the Kansas City area

who created photo albums on the Russian web site "imgsrc,llì" ald posted images of children

similar to the images posted by 'DIRTYOLDMANTI" discussed be1ow. Your affiant has

executed federal sealoh warrants on those two individual's residences and on their email

accounts (that were associated with photo albums on the web site "imgslc.ru"), and in both

instances the investigation revealed the tracling of child pornography images with nunrerous

other individuals tluoughout the United States and the world, and all of the contacts were made

through the web site "imgsrc.ru", Your affiant has sent nulnerous child pornography

ínvestigative leads to otb.el' Homelancl Secm'ity lnvestigation offtces in connection with these two

investigations,



                                                   3
  Case 5:13-cr-40070-JAR          Document 19-7        Filed 10/08/13      Page 4 of 13




        7.     As addìtional illustration of how "img$c.ru" is used, your affiant knows that an

undercover agent in the HSI Kansas City office created a photo albul on "imgsrc.ru" and

passworcl protectecl the photo album. The password protected album cloes not contain images of

children. Even thotrgh thc undercover agent provicled nothing, the undercover agent still

receivecl hundrecls of iruages ancl rnovie files of child pomography flom individuals warfing to

trade child pornography with the undercover agent. Youl afhant has obtained approximately

twenty-five federal search lvaüants on the email accounts that have sent child pomography

images to the undercovet agent, Your affiant has reviewed the contents of these approxirnately

twenty-IÌve email accounts and these email accounts show the tlading of child pornography

ímages with numerorts othel individuals.

                                   Connecting the accounts

       8.      On January 25, 2012, an individual rising the user accourrt
'TDIRTYOLÐMAN7I" created two photo albums on the "irngsrc.ru" web site. The two photo

albums were titled "Step daughter nude closeup some preg" and "9 yo granddaughter

sleeping". The photo album titled (ßStep daughter nude closeup some preg" is password
protected but shows thal it contails twenty-four images. The photo album "9 yo granddaughter

sleeping" is         not passwold protected and contains fout'                          images.

               'Working ttn'ough Russian legal pt'ocess, Russian law enforcement offltcet's
       9.
obtained. the following records from "imgsrc.ru" officials: copies the account information for

"DIRTYOLDMANTI"; copies of the trvo photo albums posted by "DIRTYOLDMANTI";
and the access log liJes for the two photo albums. Russian law enforcemetf officers pr:ovided

these recolds to HSI Cyber Crimes Center (C3) FaiLfax, Virginia.



                                                4
   Case 5:13-cr-40070-JAR             Document 19-7           Filed 10/08/13    Page 5 of 13




        10, A¡r examination of the account information for "I)LRTYOLDMANTI" revealecl
that the contact email address assooiated rvith "DIRTYOLDMANTI" is
pigbreederlgTl@ynh0o.com.            This means that a user attempting to                  contact

"DIRTYOLDMANTI" would do so by sending an email to the pigbreederl97l@¡ahoo.com

account.

        11.     On August 7,2072, C3 sent a subpoena to YAHOO in Sr-rnnyvale, CaLifornia,

requesting subscriber information and IP history for                           the email account
pigbreederlg7L@yahoo.com, On August 29, 2012, YA-I-IOO responded to tlre snbpoena,

YAIIOO records show that the pigbreederlgTL@yahoo.com account is subsuibed to Mr. Scott

DEPPISH in Junction City, I(ansas and was created on February 25,2000. The IP histoly 1'or

the account revealed that it was accessed frorn the IP addresses 174.70.155.145 and
174.70.755.152 during the months of January 2A121roI|v4,æy 2012.

        12. The access log files for the user account "DtrRTYOI-DMAI{71" show that the
É'DIRTYOLDMANTI" account was also being accessecl from the IP acldresses 174.70.155.145

and L7 4.7 0. tr 5 5. 1 52 from January 2012 to lune 20 12.

        13.     On Septembet 7,2012, C3 sent a subpoena to COX COMMUNICATIONS,

Atlanta, Georgia recluesting subscliber information and billing information on the indiviclual

using the IP address L74.70,155.152 on the dates of May 71,2012 at22:4l:00 GMT and May 13,

2012 af 00:22:02 GMT.

        14,     On Septembet 24,2012, COX COMMUNICATIONS responded to flre subpoena.

COX COMMLINICATTONS records show that the IP address 1.74J/0.755.152 was subscribed to

Scott DIXPI,IStrI,                       , Junction City, I(ansas dudng the time period of May 11,




                                                     5
  Case 5:13-cr-40070-JAR           Document 19-7         Filed 10/08/13      Page 6 of 13




2012 at 22',41:00 GMT and May 73,2012 at 00:22:02 GMT. COX COMMLTIIICATIONS

records shc¡w that Scott DEPPISFI has had intetnet service since February 2005. COX

COMMU{ICATIONS recorcls show that the Internet servioe fol Scott DEPPISII was

clisconnectecl on S eptember 20, 2012'1or lack of' payment.

        15,     On October 9, 2012, C3 requested that the HSI Kansas City, Missouri office

concluct a chilcl pornography investigation on Scott DEì)PISFI. C3 forwarded to your aff,rant,

the account information, the photos, and access log files for the uset account
"DIRTYOLDMANTI", as well as the information reiatedto pigbreeder197l@yahoo.com.
                      Thc ííÐIRTYOLDMANT1" albums and comments

        16.     The "DIRTYOLDMANTI" photo album titled "9 yo granddaughter sleeping"

contains four images titled "IMG-0027 jpg", "IMG-O028 jpg", 'ÉIMG-0031.ipg" and

"IMG_0032.ipg". Yonr affiant has reviewed the image files titled "I\4G*0027jpg",

"IMG_0028.jpg" and both images depict the same girl, approximately nine to ten years old,

asleep in what appears to be a bed. The giLl is facing ar,vay from the camera and has no shirt on

and is undel a peach-cololed bed sheet that comes up to the girl's bare shoulder, These two

images ale considerecl to be chiici erotica. Your afhant has also reviewed the image files titled

"IMG_0031.jpg" ancl "IMG_0032.jpg" and both irnages depicts tire same gill, apploximately

nine to ten yeals old, and the girl appears to be asleep in a bed, lyilg face down. The gill's face

is not visible in either knage. In both images, the gírl is wealing a black shirt and blue panties

ancl is lying on peach-colored bed sheets. In both images, the becl sheets are pulled down to the

girl's knees, ancl one of her hands is placed between her legs. Both images aplleffi to bc talcen at

the foot of the bed and the focus of the camera is on the girl's genital area. Your affiant believes



                                                  6
   Case 5:13-cr-40070-JAR             Document 19-7        Filed 10/08/13      Page 7 of 13




these two image files meet the criteria of chilcl pornography as def¡recl in 18 U,S.C. 5 2256.

Further, the title and corrtent of the photo album is consislent with themes coÍr.mon to chiid

pornography ol those interestecl in child pornograph.y: the suneptitious photoglaphy of tb,e

genital area of a sleeping chíld, a lämilial lelationship with the photographed child (incest), and a

reference to a speciltc child-indicative age (le ss than 18 years old). In this manner,

"DIRTYOLDMANTI" has etÏèctively signaled to other useLs of "imgsrc.m" that he may be a

source of aclditional content, i.e,, chilcl pornography.

        17. Your afflarrt has reviewed postecl messages by other "imgsrc.rtr" members to the
plroto album "9 yo granddaughter sleeping", "I-n1gsrc,rll" member "l-ovegirls1O13" posted

"gently pull her hair away from her face, climb in her bed and slovly jer*h my coc*k until I

cu*m over her face while she sleepst', "lmgstc,ru" msmber "younggills100" posted "do u

trade if so email met'. "lmgsrc.ru" membel' "candiddler" postecl *so delicate,.would you like

to trade p4p? I think you would like what I have)'. "Imgstc.1'Lt" member "lantus7l4" posted

"such nice shoulders... tr'd roll her over and taste. P4p?" These useìnames and cornments are

indicative of users with an overt interest ir child sexual abuse and child pornograpþ, as well as

actíve solícitations to trade pictule for pictule (p4p). This furthel indicates that

"DIRTYOLDMANTI" has effectively signaled to other useÍs of"'ilrìgsrc.ru" that he may be a

source of additional cotfent, i.e., child pomography.

        18. The "DIRTYOI-DMAN71" photo album titled "Step daughter nude closcup
some prcg" conlains twenf-foul images. Your aff,rant has reviewecl the twenty-four image

files posted to the photo album "St'ep daughter nude closcup somc prcg" . AIJ twenty-foul

images are of an adult female wilh most of the images depicting the female nude. Some ol the



                                                    1
   Case 5:13-cr-40070-JAR            Document 19-7         Filed 10/08/13      Page 8 of 13




images the female appears to be pregnant. The tr,venty-four images depict aclult pornography

ancl do not depict chilcl pornography images.

        19. Based on youl' affìant's experience and observations of individuals using
"imgsLc,ru", your affiant believes there is probable cause to believe that the user of

"DIRTYOLDMANTI" has received child pomography from other users> to the email account at

piglrreederl9TT@yahoo.coln, and that evidence related to the possession, receipt, and/or

dish'ibution of child pornograpþ will be founcl within that acoount.

                                           VAIIOO email

        20.     In my training aud experience, I have learned that YAHOO provides a variety of

on-line seLvices, including electronic mail ("e-mail") access, to the general public. YAHOO

allow subscribers to obtain e-mail accounts at their domain names yahoo.com and ymail,com,

much like the e-mail accounts listed in the respective attachments to this search waffant.

Subscribers obtain an account by registering with those respective companies. During the

registration process, YAI-IOO asks subscribers to provide basic petsonal information. Therefole,

the computers of YAI1OO are likely to contaiu storecl electronic communications (including

retrieved and unletrieved e-mail fol the e-mail sLrbscribers) and information concerning

subscdbers ancl theil use of YAI{OO services, such as account access information, e-maì1

Íans action infbrmation, ancl ac c ount appli cation information,

        21. In general, an e-mail that is sent to a YAI{OO subscribel is stored in the
subscliber's "mai] box" on YAIIOO's sela/eß until the subscribel deletes the e-mail. H the

subscriber does not clelete the nressage, the message can rernain'o¡ the servers indefinitely.




                                                   8
  Case 5:13-cr-40070-JAR             Document 19-7        Filed 10/08/13      Page 9 of 13




        22.        When the subscriber sencls an e-mail, it is initiated at the user's computeL,

transferrecl via the Internet to YAHOO's selvers, and then trzursmittecl to its end destination,

YA-I{OO often saves a copy of the e-rnail sent. Unless the sendel o1'the e-mail specifically

deletes the e-mail frorn flre YAI-IOO serverr the e-mail can remain on the system indef,rnitely.

        23,        Sent ol received e-mail typically includes the content of the message, source and

destination addresses, the date and time at which the e-mail was sent, and the size and length of

the e-mail. If an e-mail user wlites a drafl message but does not send it, that message may also

be savecl by YAIIOO but may not inclucle al1 of these categories of data,

        24. A YAHOO subscriber can also store files, including e-mails, address books,
contact or buddy lists, calendar data, pictules, and other files, on servers rnaintainecl and/or

owned the respective company.

        25.        Subscribers to YAHOO rnight not store on their home computers copies of the e-

mails stored in their respective accounts, This is particularly true when they access their

YAIfOO account tlu'ough the web, or if they do not wish to maintain particular e-mails or files in

their residence.

        26, ln general, e-mail providers like YAI-IOO ask each of their subscribers to provide
certain personai iclentilying information when regìstering for an e-mail account, This

informalion can include the subscriber's full name, physical address, telephone numbers and

other identifiers, alternative e-mail addresses, and, for payilg subscribers, means and source of

payrnenl (including any credit or bark account number),

        27. E-mail proviclers typically retain ceftail transactional infolmation about the
creation ancl use oL each account on theil systems. This information can include the clate on



                                                   9
 Case 5:13-cr-40070-JAR            Document 19-7         Filed 10/08/13      Page 10 of 13




,,vhich the acconnt was created, the length of service, tecords of log-in (i.e., session) times and

dnrations, fhe fpes of service :utllized, the status of the account (including whether the account is

inactive or closed), the methods used to connect to the account (such as logging ínto the account

via a YAHOO website), and othcr 1og files that r-eflect usage of the account. In addition, e-mail

providers often have records of the Internet Protocol address ("IP acldress") used to register the

account and the IP addresses associatecl with particular logins to the account. Because every

devjce that comects to the Internet must use an IP address, IP address infornation can help to

identifl which computers or other devices were used to access the e-mail account.

        28, In some cases, e-mail accounf users will communicate directly with an e-mail
service provider about issues relaling to the account, such as techlical problems, billing

inquiries, or cornplaints flom othet'users. E-mail providers typically retain records about such

commrnications, including recolds of contacts between the user and the provider's support

services, as well recoLds of any actions taken by the provider or user as a tesult of the

communicatíons.

       29.     In my training and experience, evidence of who was using an e-mail account may

frecluently be found within address books, contact or buddy Lists, e-mails within the account, and

attachments to e-mails, ìnc1udìng pictures and files. For this l'eason, review of the contents of the

entile email account will be necessary to determitre ol conhrm the usel of the account, Likewise,

fiies of child pornography can be saved in a variety of f,rle formats, including as images

imbedded in documents, spreadsheets, or otlrel non-image frle-formats. Fol this l'eason, revicw

of the conlents of each email will be recessaly to cleterrnine whether such contains ol oonstitutes

child pornography.



                                                 10
   Case 5:13-cr-40070-JAR               Document 19-7         Filed 10/08/13     Page 11 of 13




        30. A preselvation letter for items located in the pighreederT9Tl@yahoo,com
account was faxed to YAHOO on October 22,2012. Youl affiant seeks the contents of the entile

accoutrt, as pt'eservecl by YAHOO upon receipl of the preservation letter, and as the account in

its cullent state, as for:ncl by YAHOO upon receipt of this search wanant, These contents are

generaliy refened to as "snapshots" by YAIIOO,

        CHARA.CTERISTICS OF CHILD PORNOGRAPHY COLLE,CTORS AND
                             DISTRIBUTORS

        3   t.       I know from my Lraining and experience that the following characteristics are

prevalent among inclividuals who engage in the possession, teceipt, and distribution of cliild

pornography:

       a. The rnajority of individuals who engage in the possession, receipt, and distribution of
          child pomography ale persons who have a sexual attraction to children. They receive
          sexual gratification ancl satisfaction fi'om sexual fantasies fueled by depictions of
          children that are sexual in nature.
       b, The majority of these individuals also collect child erotica, which may consist of
          images or text that do not rise to the level of child pornography but which nonetheless
          fuel theil' sexual fantasies involving children.
       c. The majority of indivíduals who engage in tire possession, receipt, and distribution of
          child pornography often seek out like-minded jndividuals, either in person or via the
          Internet, to share information and trade depictions of child pornography and chì1d
          erotíca as a means of gaining stahrs, trust, acceptance and support, The different
          Internet-based vehicles used by suoh individuals to communicate with each other
          include, but are not limited to, peer-toçeer, e-mail, bulletin boalds, Intemet relay
          chat, newsgroups, instant messaging, and other similal vehicles.
       d. The majority of individuals who receive and possess child pornography maintain
          books, magazines, newspapers and other writings, in hard copy ol digital medium, ou
          the subject of sexual activities with children as a way of understanding their own
          feelings toward children, justifying those feeiings and fuding comfort for theil illicit
          behavior and clesires. Such individuals rarely destroy these tnaterials because of the
          psycirolo gical support they provicle.
       e. The majority of individuals who receive and possess child pornography often collect"
          read, copy ot' maintain names, addlesses (including e-nraíl addresses), phoire
          numbers, or'lists of persons who have advertised or otherwise made known in
          publications and on the Internet that they have similat' sexual interests. These
           contacts at'e maintained as ameans of personal referral, exchange ot'commel:cial
                 profit.
                                                     11
   Case 5:13-cr-40070-JAR              Document 19-7           Filed 10/08/13        Page 12 of 13




        f. Tire majolity of indivicluals who leceive and possess child pomogr:aphy rarely, if
             ever, dispose of their sexually explicit materials and may go to great lengths to
             conceal and plotect their collection of illicit materials fi'om cliscovery, theft, ancl
             damage.



                          TI                      CHED AND               GS TO BE

        32, I anticipate executing this warrant under the Electronic Corrmnnications Privacy
Act, in palticular 1B U.S.C. $$ 2703(a), 2703(bX1XA) and 2703(c)(1)(A), by using the wanant

to l'equit'e YAHOO to disclose to the govemment copies of the records and other infomration

(încluding the content of cornmunications) par-ticularly described in Section I of Attachment B,

Upon receipt of the fufolmation clescribed in Section I of Attachment B, goveffìment-authorjzed

persons r,vill review that infomation to locate the items described in Section II of Attachment B.

                                           NCLUSION
        33.     Based upon the aforementioned, I have probable cause to believe that

pigbreeder1971@ynhoo.com, the email account associated with "DIRTYOLDMAN71", is

engaged in the possession, r'eceipt, and/or distribution of images of child pornography with other

users of "imgsrcJu", using an e-mail account opetated by Yahool Inc., inviolation of Title i8

USC þ2252 (a), certain activities relating to material involving the sexual exploitation of minors.

        34. Based on the forgoing, I request that the Court issue the proposed search wanant.
        35. This Court has jruisdiction to issue the requested warrant because it is "a court of
competent jurisdiction" as defined by 18 U,S.C, ç2711. 18 U.S.C. $$ 2703(a), (bX1XA) A

(cX 1 XA) . Specifi cally, the Court "a. district court of the United States , . . that - has julisciicti.on

overthe offense beinginvest\gated;'18 U.S.C. ti271f (3XA)(i).1 PuLsuantto 18 U,S,C. $

2703(g), the plesence of a lalv cnforcement officer is not recluired for the service or execution of

this wauant.




                                                      L2
Case 5:13-cr-40070-JAR   Document 19-7   Filed 10/08/13   Page 13 of 13
